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 9                                IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                             2:12-CR-00315-JAM
13                  Plaintiff,
                                                           STIPULATION AND ORDER FOR
14          v.                                             ANCILLARY HEARING BRIEFING
                                                           SCHEDULE
15   LEE LOOMIS,
16                  Defendant.
17

18          Pursuant to the Minute Order filed December 21, 2020, the United States of America through its

19 undersigned counsel, Paul A. Hemesath and Kevin C. Khasigian, Assistant United States Attorneys, and

20 counsel for Petitioner Flagstar Bank, FSB (“Flagstar”), Roland P. Reynolds, respectfully request that the

21 Court extend the deadlines and set the following ancillary hearing briefing schedule regarding Petitioner

22 Flagstar’s filing [ECF No. 714]: the Government to respond by January 29, 2021, and Petitioner to reply

23 by February 5, 2021. The ancillary hearing briefing schedule is requested to allow the parties to analyze

24 and review complex financial documents, discuss any impacts from the defendant’s death, and to deal

25 with impacts of the COVID-19 pandemic. Further, additional potential third parties have been sent

26 notice regarding the seized assets and they have yet to file a claim, thus this extension will allow for a

27 coordinated ancillary proceeding among many claimants.

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                                                          1                   Stipulation and Order re Ancillary Hearing
                                                                              Briefing Schedule
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 1          WHEREFORE, based on the foregoing, and for good cause shown, the United States and

 2 Petitioner hereby stipulate that the Government respond by January 29, 2021, and Petitioner reply by

 3 February 5, 2021, following any opposition. If the Court determines that a hearing is necessary, it will be

 4 set after the matter has been fully briefed.

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 6 Dated: 1/6/2021                                      McGREGOR W. SCOTT
                                                        United States Attorney
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 8                                                By:   /s/ Kevin C. Khasigian
                                                        PAUL A. HEMESATH
 9                                                      KEVIN C. KHASIGIAN
                                                        Assistant U.S. Attorneys
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11 Dated: 1/6/2021
                                                  By:   /s/ Roland P. Reynolds
12
                                                        ROLAND P. REYNOLDS
13                                                      Counsel for Petitioner Flagstar Bank, FSB
                                                        (Authorized by email)
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16                                                  ORDER

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            IT IS SO ORDERED.
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     Dated: January 6, 2021                                 /s/ John A. Mendez
19                                                          THE HONORABLE JOHN A. MENDEZ
20                                                          UNITED STATES DISTRICT COURT JUDGE

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                                                        2                   Stipulation and Order re Ancillary Hearing
                                                                            Briefing Schedule
